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7                         UNITED STATES DISTRICT COURT

8                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,               Nos. 2:07-cr-0248-02 WBS
                                                   2:16-cv-1180 WBS
12                  Plaintiff,

13        v.                                 ORDER
14   LARRY AMARO,

15                  Defendant.

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17                                ----oo0oo----

18             Defendant Larry Amaro filed his Motion Under 28 U.S.C.

19   § 2255 to Vacate, Set Aside or Correct Sentence on May 31, 2016.

20   (Docket No. 1398.)    The Government filed its Response to the

21   motion on June 30, 2016.     (Docket No. 1403.)     Pursuant to this

22   court’s Order of June 7, 2016, defendant’s Reply was due to be

23   filed no later than July 20, 2016.      (Docket No. 1399.)

24             On July 18, 2016, the court received defendant’s first

25   Motion for Extension of Time to file his reply (Docket No. 1415),

26   which the court granted on July 19, 2016.       (Docket No. 1416.)

27   Subsequently, the court received from defendant eleven more

28   requests for extension of time to file his reply. (Docket Nos.
                                         1
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1    1429, 1441, 1461, 1477, 1493, 1505, 1526, 1567, 1584, 1590, and

2    1599.)   The reason given for each request is substantially the

3    same – that defendant is waiting to obtain unspecified exhibits

4    or documents to support his motion.

5              Up to the most recent request, the court has granted

6    each of defendant’s requests to extend the time to file his

7    Reply.   However, defendant’s § 2255 motion has now been on file

8    for more than two years, and it has been more than 23 months

9    since the Government’s Response was filed.        The court cannot

10   postpone resolution of this motion indefinitely.         Accordingly,

11   defendant’s most recent request for an extension of time to file

12   his Reply (Docket No. 1599) will be denied, and the court will

13   proceed to decide defendant’s § 2255 motion.

14             For the reasons set forth in the Government’s Response,

15   defendant’s motion must be denied.      The first three grounds

16   asserted for defendant’s motion are (1) that this court erred in

17   denying defendant’s motion to suppress wiretap evidence; (2) that

18   this court erred in allowing evidence concerning the Nuestra

19   Familia gang; and (3) that this court erred in failing to hold a

20   Franks1 hearing in connection with the motion to suppress.        Each
21   of those claims were raised and decided adversely to defendant on

22   his direct appeal.    See United States v. Amaro, 613 F. App’x 600

23   (9th Cir. 2015).

24             When a matter has been decided adversely on appeal from

25   a conviction, it cannot be litigated again on a § 2255 motion.

26   United States v. Scrivner, 189 F.3d 825, 828 (9th Cir. 1999);
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28        1    Franks v. Delaware, 438 U.S. 154 (1978).
                                     2
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1    Odom v. United States, 455 F.2d 159, 160 (9th Cir. 1972).

2    Because defendant’s first three grounds for relief were decided

3    against him on appeal, they cannot be litigated here.

4               Defendant’s fourth ground is ineffective assistance of

5    his appellate counsel in the Ninth Circuit.        Specifically,

6    defendant claims that his appellate counsel “failed to

7    communicate” with him, failed to include him in the “appeals

8    process’, and failed to show him certain unspecified briefs and

9    transcripts.

10              Habeas Corpus Rule 2(c) requires that the petition

11   “specify all the grounds for relief” and “state the facts

12   supporting each ground.”     Defendant’s vague and conclusory

13   allegations with regard to this claim fail to comply with Rule

14   2(c).    Accordingly, his fourth claim must be rejected.          See Shah

15   v. United States, 878 F.2d 1156, 1161 (9th Cir. 1989) (holding

16   that vague or conclusory allegations warrant summary dismissal of

17   § 2255 claims); Neighbors v. United States, 457 F.2d 795 (9th

18   Cir. 1972) (holding that a § 2255 motion was properly denied

19   where allegations regarding ineffective assistance of counsel

20   were entirely conclusory and without support in the record).
21              IT IS THEREFORE ORDERED that defendant Amaro’s twelfth

22   Request for Extension of Time to file his Reply (Docket No. 1599)

23   be, and the same hereby is, DENIED;

24              AND IT IS FURTHER ORDERED that defendant Amaro’s Motion

25   Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence

26   (Docket No. 1398) be, and the same hereby is, DENIED.
27   Dated:   June 13, 2018

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